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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


  INGRID BUQUER,                                  )
  BERLIN URTIZ,                                   )
  LOUISA ADAIR on their own behalf and            )
  on behalf of those similarly situated,          )
                                                  )
                                Plaintiffs,       )
                                                  )
                       vs.                        )
                                                  )
  CITY OF INDIANAPOLIS,                           )      No. 1:11-cv-00708-SEB-MJD
  MARION COUNTY PROSECUTOR in                     )
  his official capacity,                          )
  CITY OF FRANKLIN,                               )
  JOHNSON COUNTY SHERIFF in his                   )
  official capacity,                              )
  JOHNSON COUNTY PROSECUTOR in                    )
  his official capacity,                          )
                                                  )
                                Defendants.       )

    ORDER DENYING MOTION TO INTERVENE AND DENYING AS MOOT
    DEFENDANTS’ MOTION FOR RECONSIDERATION AND MOTION TO
                           STRIKE

        By their motion, three Indiana state senators seek to have this court resolve the

 internecine disagreement between themselves and the Indiana Attorney General over the

 strategy to be pursued in this litigation by Defendants. Having carefully reviewed the

 senators’ request, we cannot endorse the result they seek, and their motion to intervene

 must be denied. As would-be suitors these three legislators lack the power to substitute

 themselves for the Office of the Attorney General in order to pursue their own strategic

 litigation preferences.


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        The Complaint in this class action challenges the constitutionality of Section 18

 (currently codified at Indiana Code § 34-28-8.2) and Section 20 (currently codified at

 Indiana Code § 35-33-1(1)(a)(11)-(13)) of the 2011 Senate Enrolled Act (“SEA”) 590.1

 On June 24, 2011, our court entered a preliminary injunction in favor of Plaintiffs

 enjoining Defendants from enforcing Sections 18 and 20 until further order of the Court.

 On November 20, 2011, Plaintiffs filed their motion for summary judgment and

 supporting memorandum. On December 21, 2011, Defendant City of Indianapolis filed a

 cross-motion for summary judgment. After discovery, on April 9, 2012, the Office of the

 (Indiana) Attorney General, representing the Marion and Johnson County Prosecutors

 (“the State Defendants”), filed its response opposing Plaintiffs’ motion for summary

 judgment. In its response, the Office of the Attorney General requested not only that

 Plaintiffs’ motion be denied but also that summary judgment be issued for the state

 officials. On April 20, 2012, Plaintiffs filed their reply in support of their motion for

 summary judgment, at which point the motion was fully briefed.

        On June 25, 2012, before Plaintiffs’ pending summary judgment motion was

 decided, the United States Supreme Court handed down its ruling in Arizona v. United

 States, 132 S.Ct. 2492 (2012). On July 17, 2012, with this court’s permission, Plaintiffs

 filed a notice of supplemental authority asserting that “[t]he Supreme Court’s holding in
 1
   Section 20 amends Indiana Code ' 35-33-1-1(1), by adding new sections (a)(11)-(a)(13),
 authorizing state and local law enforcement officers to make a warrantless arrest of a person
 when the officer has a removal order issued for the person by an immigration court, a detainer or
 notice of action issued for the person by the United States Department of Homeland Security, or
 has probable cause to believe the person has been indicted for or convicted of one or more
 aggravated felonies. Section 18 creates a new infraction under Indiana law for any person (other
 than a police officer) who knowingly or intentionally offers or accepts a consular identification
 card as a valid form of identification for any purpose.
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 Arizona is entirely conclusive of the issues presented by Class A in this case, which has

 challenged the ‘arrest provisions’ in Section 20 of SEA 590.” Docket No. 186 at 4.

 Plaintiffs further maintained that, with regard to Section 18, although not directly

 addressing the issue, Arizona “underscores the arguments made on behalf of Class B

 regarding Section 18 of SEA 590, which prohibits the use or acceptance of consular

 identification cards under most circumstances.” Id. at 5.

        On July 31, 2012, the Office of the Attorney General filed a response to the

 supplemental authority stressing that Arizona did not directly address the issue of

 consular identification cards addressed in Section 18 of SEA 590, and stating: “[t]he

 Attorney General submits the issue to the Court for its determination of [the consular

 identification card] issue, with the recommendation that the State should enjoy the right

 to define what identification it deems reliable and acceptable for government purposes,

 including licensed occupations.” Docket No. 188 at 3. With regard to Section 20, the

 Attorney General indicated that, based on the Supreme Court’s holding in Arizona, he

 recognized that warrantless arrests of persons with a removal order, notice of action, or a

 commission of an aggravated felony are unconstitutional and therefore “[w]arrantless

 arrests under those circumstances and justifications will not be defended and a ruling by

 this Court to that effect will be accepted. However, a federal, state, or immigration

 detainer justified an arrest before Ind. Code 35-33-1-1, and still justifies an arrest after the

 Arizona decision.” Id. at 2.

        Despite the fact that the Attorney General’s April 9, 2012 summary judgment

 response remains pending before this Court and that he has not consented to judgment, on

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 September 4, 2012, pursuant to Rule 24 of the Federal Rules of Civil Procedure, Indiana

 State Senators Mike Delph, Phil Boots, and Brent Steele, three of the state senators who

 originally co-authored and voted for SEA 590, filed a Motion to Intervene [Docket No.

 190], seeking to intervene in their official capacities as Indiana State Senators on the side

 of Defendants to defend the constitutionality of SEA 590. Both Plaintiffs and the State

 Defendants have filed responses in opposition to the motion to intervene. Additionally,

 on September 12, 2012, the State Defendants filed a Motion for Reconsideration [Docket

 No. 197] of the Court’s September 10, 2012 Order Granting Motion to Appear Pro Hoc

 Vice and a Motion to Strike the Motion to Intervene [Docket No. 198]. On October 3,

 2012, the State Senators filed a combined reply to the motion to intervene and response to

 the State Defendants’ motions. On October 12, 2012, the State Defendants filed a reply

 in support of their motion to reconsider and motion to strike. Having now all been fully

 briefed, we address these three currently pending motions.

                                          Discussion

    I.      Intervention by Right

         The State Senators’ motion to intervene seeks leave to intervene as of right,

 pursuant to section 24(a)(2) of the Federal Rules of Civil Procedure. Under Rule

 24(a)(2), a party seeking intervention of right must show: “(1) timeliness; (2) an interest

 relating to the subject matter of the main action, (3) at least potential impairment of that

 interest if the action is resolved without the intervenor, and (4) lack of adequate

 representation by existing parties.” Reid L. v. Ill. State Bd. of Educ., 289 F.3d 1009, 1017

 (7th Cir. 2002) (citation omitted). If any of these criteria are not met, “the district court

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 must deny intervention of right.” Id. (citing United States v. 36.96 Acres of Land, 754

 F.2d 855, 858 (7th Cir. 1985)).

        While noting a circuit split on the issue, the Seventh Circuit has ruled that Rule

 24(a)(2)’s requirement that the proposed intervenor possess an “interest” relating to the

 subject of the underlying action incorporates the requirement that the party seeking

 intervention possess Article III standing. City of Chicago v. Fed. Emergency Mgmt.

 Agency, 660 F.3d 980, 984-85 (7th Cir. 2011); see also Flying J, Inc. v. Van Hollen, 578

 F.3d 569, 571 (7th Cir. 2009). “To establish standing under Article III, a prospective

 intervenor must show: (1) he or she has suffered an ‘injury in fact’ that is (a) concrete and

 particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the injury is

 fairly traceable to the challenged action of the defendant; and (3) it is likely, as opposed

 to merely speculative, that the injury will be redressed by a favorable decision.” Peters v.

 District of Columbia, 873 F. Supp. 2d 158, 211 (D.D.C. 2012) (citing Lujan v. Defenders

 of Wildlife, 504 U.S. 555, 560-61 (1992); Sierra Club v. EPA, 292 F.3d 895, 898 (D.C.

 Cir. 2002)).

        A. Standing/Rule 24(a)(2) Interest Requirement

        We turn initially to address the issue of standing and the Rule 24(a)(2) interest

 requirement. 2 The proposed intervenors contend that, as the co-authors of SEA 590, they

 have an interest in protecting the exercise of their legislative power to introduce and pass

 laws in the areas of police arrest power and the regulation of identification documents

 2
   Because we deny intervention as of right on the other grounds discussed in detail below, the
 element of timeliness is deferred until our discussion of permissive intervention, infra, where it is
 addressed in detail.
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 sufficient to confer standing. They argue that a preemption holding by the Court in this

 case not only invalidates the legislation that they co-authored, but also precludes them

 from sponsoring and enacting future legislation on similar subjects. The three legislators

 also contend that they have a related interest in preventing the nullification of their votes

 in favor of SEA 590 sufficient to confer standing under Coleman v. Miller, 307 U.S. 433

 (1939).

        Although the United States Supreme Court has seldom had occasion to address the

 issue of legislative standing, it has taken up the issue in two seminal cases – Coleman and

 Raines v. Byrd, 521 U.S. 811 (1997). In Coleman, the Supreme Court held that a group

 of twenty state legislators who had voted against a proposed child labor amendment to

 the federal constitution had standing to challenge the State Lieutenant Governor’s

 authority to cast a deciding vote in favor of the amendment because they had “a plain,

 direct and adequate interest in maintaining the effectiveness of their votes.” 307 U.S. at

 438. The three legislators in the case before us argue that a preemption finding here

 would similarly nullify their votes in favor of SEA 590, depriving them of any legislative

 recourse following a negative decision. Thus, they contend that the Attorney General’s

 failure to defend SEA 590 in the manner that they desire is akin to the Lieutenant

 Governor’s actions challenged in Coleman.

        We disagree. The Supreme Court clarified the scope of its Coleman holding in

 Raines. In Raines, six members of the United States Congress who had voted against the

 Line Item Veto Act filed suit challenging the constitutionality of the law after it was

 passed, arguing that the Act limited their institutional power as legislators because it gave

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 the President the power to veto certain measures after he signed them into law. The

 Court rejected the members’ contention, stating:

        [O]ur holding in Coleman stands (at most …) for the proposition that
        legislators whose votes would have been sufficient to defeat (or enact) a
        specific legislative Act have standing to sue if that legislative action goes
        into effect (or does not go into effect), on the ground that their votes have
        been completely nullified.

        It should be equally obvious that appellees’ claim does not fall within our
        holding in Coleman, as thus understood. They have not alleged that they
        voted for a specific bill, that there were sufficient votes to pass the bill, and
        that the bill was nonetheless deemed defeated.

 521 U.S. at 823-24.

        Guided by this analysis in Coleman and Raines, we find that the three legislators

 here have not alleged a vote nullification injury sufficient to bestow standing in this case.

 Unlike the situation presented in Coleman, these proposed intervenors do not claim that a

 bill they voted for “would have become law if their vote had not been stripped of its

 validity ….” Raines, 521 U.S. at 824 n.7. It is undisputed that SEA 590 was properly

 enacted by the Indiana General Assembly and signed by the Governor. Thus, this is not a

 case analogous to Coleman in which the three legislators’ votes in favor of SEA 590 were

 completely nullified by an allegedly improper procedure by the executive branch that

 interfered in the legislative process. Rather, the proposed intervenors merely disagree

 with the litigation strategy decisions made by the Indiana Attorney General.

        In Planned Parenthood of Mid-Missouri and East Kansas, Inc. v. Ehlmann, 137

 F.3d 573 (8th Cir. 1998), the Eighth Circuit addressed a situation closely analogous to the

 one before us. In Ehlmann, the appellate court affirmed the district court’s denial of a


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 motion to intervene filed by ten Missouri state legislators seeking to intervene in

 litigation challenging a Missouri legislative enactment defended by the Missouri Attorney

 General, after the Attorney General indicated that he did not intend to appeal the district

 court’s ruling that the enactment was unconstitutional. There, the Eighth Circuit noted

 that the parties’ dispute limited to a disagreement between the legislative and executive

 branch over litigation strategy, which differentiated that case from Coleman. The Eighth

 Circuit observed: “Coleman related to whether legislators had standing in a lawsuit where

 they contended an allegedly illegal action of the Lieutenant Governor nullified their

 votes. It does not hold that when a court declares an act of the state legislature to be

 unconstitutional, individual legislators who voted for the enactment can intervene.”

 Ehlmann, 137 F.3d at 578.3 Because we also note that the case before us does not

 involve nullification resulting from improper intervention into the legislative process, the

 three legislators seeking to intervene have not demonstrated that they have standing under

 a vote nullification theory based on Coleman.

        Nor is any separate claimed interest by them “in protecting the exercise of their

 legislative power to introduce and pass laws in the fields of police arrest power and the

 regulation of identification documents” sufficiently particularized to confer standing.

 The individual legislators contend that, as the co-authors of SEA 590, they have a distinct


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   We remain mindful of the Eighth Circuit’s caution in Ehlmann that: “Justice Souter [in his
 concurring opinion in Raines] cautioned against courts embroiling themselves in a political
 interbranch controversy between the United States Congress and the President. [citation omitted]
 Federal courts should exercise this same caution when, as in this case, there exists a political
 interbranch controversy between state legislators and a state executive branch concerning
 implementation of a bill.” 137 F.3d at 578 n.5.
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 and personal interest in its constitutionality, but this interest is not distinguishable from

 the injury suffered by all members of the state legislature if the statute is subsequently

 preempted. This type of claimed interest has been held by other courts to be “nothing

 more than an ‘abstract dilution of institutional legislative power,’” which “does not

 entitle individual legislators to seek a judicial remedy.” Alaska Legislative Council v.

 Babbitt, 181 F.3d 1333, 1338 (C.A.D.C. 1999) (denying standing to state legislators

 alleging the threat of federal preemption caused sufficient institutional injury to challenge

 a federal statute which removed the power of the Alaska Legislature to control hunting

 and fishing on federal lands within Alaska) (quoting Raines, 521 U.S. at 826).4

 Similarly, in Raines, the Court emphasized the importance of the fact that the plaintiffs

 had alleged an institutional injury in their official capacities which necessarily damaged

 all members of the legislature equally, distinguishing those circumstances from situations

 in which individual legislators had been found to have standing based on their having

 “been singled out for specially unfavorable treatment as opposed to other Members in

 their respective bodies.” 521 U.S. at 821; see also Newdow v. U.S. Congress, 313 F.3d

 495, 500 (9th Cir. 2002) (“Of course, every time a statute is not followed or is declared

 4
   It is true, as the proposed intervenors argue, that the ability to make laws is a core legislative
 power. However, at issue here is a relatively narrow aspect of that institutional power, similar to
 the injury at issue in Babbitt, where the the state legislature’s power to control hunting and
 fishing on federal lands within Alaska was at stake. Although the three legislators here
 characterize their interest as “protecting the exercise of their legislative power to introduce and
 pass laws in the fields of police arrest power and the regulation of identification documents,” that
 characterization of their interest is drawn much too broadly. A preemption finding in this case
 would not eliminate the proposed intervenors’ ability to introduce and pass any laws in those
 fields, but rather would restrict only the breadth of their power to propose legislation in those
 fields inasmuch as they intersect with federal immigration regulation. Thus, the dilution of the
 legislators’ institutional power resulting from a preemption finding in the case at bar would be
 slight.
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 unconstitutional, the votes of legislators are mooted and the power of the legislature is

 circumscribed in a sense, but that is no more than a facet of the generalized harm that

 occurs to the government as a whole. By the same token, the President’s signing of the

 legislation is also nullified, judges, who might have felt otherwise, are bound by the

 decision, and citizens who relied upon or desired to have the law enforced are

 disappointed.”).5

        It is well established, however, that “state legislators have standing to contest a

 decision holding a state statute unconstitutional if state law authorizes legislators to

 represent the State’s interests.” Arizonans for Official English v. Arizona, 520 U.S. 43,

 65 (1997) (citing Karcher v. May, 484 U.S. 72, 82 (1987)). The proposed intervenors


 5
   We note that a number of the cases cited by the proposed intervenors in support of their motion
 address or reference circumstances in which either the legislature as a whole or individual
 legislators authorized to act on behalf of the legislative bodies they served sought to intervene to
 defend legislation. Karcher v. May, 484 U.S. 72, 76-77, 94-85 (1987) (state legislators
 authorized to represent the New Jersey Legislature had the authority to defend the
 constitutionality of a statute challenged in federal court only as long as the legislators continued
 to hold office, but declining to address “the issue whether individual legislators have standing to
 intervene and defend legislation for which they voted”) (White, J., concurring); Yniquez v. State
 of Ariz., 939 F.2d 727 (9th Cir. 1991) (citing Karcher and holding that ballot initiative sponsors
 had standing to intervene to defend initiative’s constitutionality in part based on the court’s belief
 that “a state legislature” would have standing if the ballot initiative were instead a statute);
 Interactive Media Entertainment & Gaming Ass’n, Inc. v. Holder, 2011 WL 802106, at *10
 (D.N.J. Mar. 7, 2011) (recognizing that “the state legislature would have a vested institutional
 interest in defending a state law against a constitutional attack when the executive branch
 declines to defend it”). However, the question of whether the Indiana General Assembly as a
 legislative body might have a right to intervene under the circumstances presented here is not at
 issue. Although the state legislature as a whole might have an institutional interest in defending
 the constitutionality of a state law when the executive branch declines to defend it, there is no
 argument here that the Indiana General Assembly has authorized the three proposed intervenors
 to act on its behalf. Moreover, the Attorney General’s position on the application of Arizona to
 the facts in this case does not mean that SEA 590 is left undefended as the Attorney General has
 neither consented to judgment in this case nor expressed a wholesale refusal to defend SEA 590.
 Accordingly, we do not find these cases either applicable or particularly helpful in resolving the
 issues at bar.
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 here argue that, although Indiana state law does not authorize them to stand in for the

 State of Indiana to represent its interests, Indiana state law expressly authorizes them to

 protect their own official interests as legislators, and thus, they have standing on that

 basis. The statute they cite, Indiana Code § 4-6-2-1.5, does not support their argument in

 that it clearly addresses the right state governmental officials and employees have to

 select the counsel of their own choosing to represent their personal interests whenever

 that governmental official or employee “is made a party to a suit” arising out of an

 official act. Id. § 1.5(a), (f). That is not the case here. Indiana law provides that,

 although state officials may hire outside counsel of their choosing to protect their

 personal interests, “when the suit involves State officers or employees in their official

 capacities, the outside attorney may only act as an amicus curiae unless the Attorney

 General consents. The Attorney General is charged by law with defending State

 agencies, officers and employees, and must, of necessity, direct the defense of the lawsuit

 in order to fulfill his duty to protect the State’s interests.” State ex rel. Sendak v. Marion

 County Superior Court, Room No. 2, 373 N.E.2d 145, 148 (Ind. 1978) (internal citation

 omitted). Accordingly, we reject the three legislators’ contention that state law gives

 them standing on this basis, and hold that the proposed intervenors have failed to assert

 an interest sufficient to confer Article III standing. Without standing, they cannot and do

 not satisfy the Rule 24(a)(2) interest requirement.

        B. Adequacy of Representation

        Even if the proposed intervenors could establish that they have standing to sue and

 a sufficient interest in this litigation under Rule 24(a)(2), they have failed to show that the

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 Attorney General is providing inadequate representation in the litigation before us. In

 most cases, the burden of showing inadequacy is a minimal one. See Ligas ex rel. Foster

 v. Maram, 478 F.3d 771, 774 (7th Cir. 2007) (citations omitted). However, in cases like

 this one, where the governmental entity responsible for protecting the interests of the

 intervenors is the party accused of inadequacy, the Seventh Circuit has held that “the

 representative party is presumed to adequately represent [the proposed intervenors’]

 interests unless there is a showing of gross negligence or bad faith.” Id. (citing United

 States v. South Bend Cmty. Sch. Corp., 692 F.2d 623, 627 (7th Cir. 1982); United States

 v. Bd. of Sch. Comm’rs of Indianapolis, 466 F.2d 573, 575-76 (7th Cir. 1972)). Here,

 “[t]he Attorney General is charged with the responsibility of defending the State and its

 officers and employees when sued in their official capacities.” Sendak, 373 N.E.2d at

 148 (citing IND. CODE §§ 4-6-2-1, 1.5). Thus, we find that the deferential standard

 applied in Ligas applies here as well.

        As detailed above, the Attorney General has not engaged in or otherwise declared

 a wholesale refusal to defend SEA 590 nor has he consented to judgment in the case at

 bar. His position with regard to Section 18 of SEA 590 as set forth in his response to

 Plaintiffs’ motion for summary judgment has remained consistent throughout the

 litigation, and the proposed intervenors do not criticize that response which is still

 pending before the court. Their disagreement is with the Attorney General’s most recent

 legal argument regarding the applicability of the Arizona decision to certain provisions of

 Section 20 of SEA 590. However, their dispute with regard to the application of relevant

 caselaw evidences neither gross negligence nor bad faith on the part of the Attorney

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 General,6 and is thus insufficient to overcome the presumption that the representation is

 adequate. See Wisconsin Educ. Ass’n Council v. Walker, 705 F.3d 640, 659 (7th Cir.

 2013) (“[Proposed intervenors] rely largely on post-hoc quibbles with the state’s

 litigation strategy. This does not provide the conflict of interest necessary to render the

 state’s representation inadequate.”); Verizon New England v. Maine Public Utilities

 Comm’n, 229 F.R.D. 335, 338 (D. Me. 2005) (“[F]ailure of a party to raise a particular

 legal argument favored by the prospective intervenor does not establish inadequate

 representation per se.”) (citing Daggett v. Comm’n on Governmental Ethics & Election

 Practices, 172 F.3d 104, 112 (1st Cir. 1999)).

           For the foregoing reasons, we hold that the three legislators have failed to assert a

 specific, legally-protectable interest in this litigation sufficient to meet either the standing

 requirement or the second prong of the test under Rule 24(a)(2), and that they have also

 failed to show inadequate representation by the Attorney General as required by the

 fourth prong under Rule 24(a)(2). Accordingly, we deny their request to intervene as of

 right.

     II.      Permissive Intervention



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   The proposed intervenors correctly state that “Indiana courts define ‘bad faith’ as ‘not simply
 bad judgment or negligence, rather it implies the conscious doing of a wrong,’ and ‘contemplates
 a state of mind affirmatively operating with furtive design or ill will.’” Docket No. 205 at 24
 (quoting Kruse v. Nat’l Bank of Indianapolis, 815 N.E.2d 137, 148 (Ind. Ct. App. 2004)
 (citations omitted)). However, the evidence cited by the three legislators in support of their bad
 faith argument is insufficient even to raise the possibility that the Attorney General’s July 31,
 2012 response regarding the applicability of Arizona was anything other than his good faith
 interpretation of the relevant caselaw. None of the evidence and argument adduced by the
 intervenors evidences bad faith on the part of the Attorney General nor does it show “a furtive
 intent to deny the State Senators a meaningful defense,” as the proposed intervenors allege.
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        The proposed intervenors alternatively seek to intervene permissively under Rule

 24(b). Permissive intervention is allowed upon timely application “when an applicant’s

 claim or defense and the main action have a question of law or fact in common.” Fed. R.

 Civ. Pro. 24(b). Relevant factors in determining whether permissive intervention under

 Rule 24(b) is appropriate include undue delay and prejudice to other parties. See

 Heartwood, Inc. v. U.S. Forest Serv., Inc., 316 F.3d 694, 701 (7th Cir. 2003). The

 determination of whether to grant permissive intervention falls within the discretion of

 the court. Sokaogon Chippewa Community v. Babbitt, 214 F.3d 941, 949 (7th Cir. 2000)

 (citation omitted).

        Initially, we address the issue of the timeliness of the motion to intervene, at least

 as to Section 18 of the statute under review by the Court regarding consular-issued

 identification cards. To determine whether a motion to intervene is timely, courts look at

 factors such as: “(1) the length of time the intervenor knew or should have known of [his]

 interest in the case, (2) the prejudice caused to the original parties by the delay, (3) the

 prejudice to the intervenor if the motion is denied, and (4) any other unusual

 circumstances.” Reid L., 289 F.3d at 1017. “As soon as a prospective intervenor knows

 or has reason to know that his interests might be adversely affected by the outcome of

 this litigation he must move promptly to intervene.” United States v. South Bend

 Community Sch. Corp., 710 F.2d 394, 396 (7th Cir. 1983).

        Here, the legislators seeking to intervene argue that their application is timely

 because it was not until Attorney General filed his response concerning the decision by

 the Supreme Court in Arizona on July 31, 2012, declining to actively defend the

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 constitutionality of certain provisions of Section 20 of SEA 590, that they became aware

 of their need to intervene. However, with regard to Section 18, the Attorney General’s

 July 31, 2012 response does not alter, much less withdraw, his arguments set forth

 previously in his April 9, 2012 summary judgment response and his June 15, 2011

 memorandum opposing a preliminary injunction. Because the Attorney General has

 maintained a consistent position on Section 18 throughout this litigation, the three

 legislators had more than a year to move to intervene to defend the constitutionality of

 that section. These circumstances fall far short of establishing that they have moved

 “promptly.” Given the advanced stage of this litigation at which the motion to intervene

 was filed, we hold that the legislators’ request was not timely with regard to their

 arguments in support of the constitutionality of Section 18.

        The legislators’ untimeliness is underscored by the fact that, as discussed above,

 the Attorney General has not withdrawn, consented to judgment, or otherwise left SEA

 590 undefended. Allowing them to intervene at this point would force Plaintiffs to

 defend against the disparate views of both the executive and legislative branches, and to

 do so well after the pending summary judgment motion has been briefed. Our

 determination is also rooted in the well-established principles of Indiana law that provide:

 “The office of the Attorney General was re-created by the Indiana Legislature in 1943, in

 order to give the State independent legal representation and to establish a general legal

 policy for State agencies.” Sendak, 373 N.E.2d at 148 (citing Indiana State Toll Bridge

 Commission v. Minor, 139 N.E.2d 445 (Ind. 1957)). Thus, “the Attorney General has

 exclusive power and right in most instances to represent the State, its agencies and

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 officers, and the agencies and officers may not hire outside counsel unless the Attorney

 General has consented in writing.” Banta v. Clark, 398 N.E.2d 692, 693 (Ind. Ct. App.

 1979) (citations omitted). Allowing the three individual legislators to intervene here in

 their official capacities as State Senators not only would conflict with this well-settled

 state law, but would provide the legislators a trump card with respect to the Attorney

 General’s statutorily derived discretion in this context. Informed as well by the cautious

 restraints imposed by courts on the exercise of their discretionary powers to take pains to

 avoid entering the fray of interbranch political controversies, we deny the proposed

 intervenors’ request to intervene permissibly.

    III.   Conclusion


        For the foregoing reasons, we DENY the legislators’ Motion to Intervene. In light

 of this ruling, the State Defendants’ Motion for Reconsideration and Motion to Strike are

 DENIED AS MOOT. The case will proceed accordingly.


        IT IS SO ORDERED.

             03/28/2013
 Date: ____________________________
                                                             _______________________________
                                                              SARAH EVANS BARKER, JUDGE
                                                              United States District Court
                                                              Southern District of Indiana




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